      Case 2:22-cv-00184-LCB-CWB
           2:22-cv-00184-LCB-SRW Document 62-2
                                          80-7 Filed 04/29/22
                                                     05/03/22 Page 2
                                                                   1 of 59
                                                                        24




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                                                                                    7
                          NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER, et
al.,

                Plaintiffs,
                                           Case No. 2:22-cv-184-LCB-SRW
and

UNITED STATES OF AMERICA,

                Plaintiff-Intervenor,

        v.

KAY IVEY, in her official capacity as
Governor of Alabama, et al.

                Defendants.




         EXPERT DECLARATION OF ARMAND H. ANTOMMARIA,
                      MD, PhD, FAAP, HEC-C

        1.   Counsel for the United States have retained me as an expert in

connection with the above-captioned litigation.

        2.   2022 Alabama Senate Bill 184 (SB 184) singles out for anomalous

treatment certain medical interventions when these interventions are used for the

purpose of gender transition, which I will refer to as gender-affirming medical care,

criminalizing healthcare professionals who provide minors gender-affirming

medical care or who refer minors for such care.
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 3
                                                                 2 of 59
                                                                      24




      3.     The legislative findings in SB 184 do not provide a sound medical or

ethical basis for criminalizing the provision of gender-affirming medical care to

minors with gender dysphoria nor could they because a sound medical or ethical

basis for criminalizing such care does not exist.

      4.     I have actual knowledge of the matters stated in this declaration. In

preparing this declaration, I reviewed the materials listed in the attached

Bibliography (Exhibit A), as well as SB 184. I may rely on those documents as

additional support for my opinions. I have also relied on my years of research and

relevant experience, as set out in my curriculum vitae (Exhibit B), and on the

materials listed therein.   The materials I have relied upon in preparing this

declaration are the same types of materials that experts in medicine and bioethics

regularly rely upon when forming opinions on the subject. I may wish to supplement

these opinions or the bases for them as a result of new scientific research or

publications, or in response to statements and issues that may arise in my area of

expertise.

                      BACKGROUND AND QUALIFICATIONS

      5.     I hold the following positions at Cincinnati Children’s Hospital

Medical Center: Director of the Ethics Center, Lee Ault Carter Chair of Pediatric

Ethics, and Attending Physician in the Division of Hospital Medicine. I am also a
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 4
                                                                 3 of 59
                                                                      24




Professor in the Departments of Pediatrics and Surgery at the University of

Cincinnati College of Medicine.

      6.     In 2000, I received both my medical degree from Washington

University School of Medicine in St. Louis, Missouri and my PhD in Religious

Ethics from The University of Chicago Divinity School. I completed my Pediatrics

residency at the University of Utah in 2003.

      7.     I have been licensed to practice medicine since 2001 and am currently

licensed to practice medicine in Ohio. I have been Board Certified in General

Pediatrics since 2004 and in Pediatric Hospital Medicine since the inception of this

certification in 2019. I have been certified as a Healthcare Ethics Consultant since

the inception of this certification in 2019.

      8.     I have extensive experience as a practicing pediatrician. I have been in

clinical practice since 2003 and approximately 30 percent of my current work is

dedicated to caring for hospitalized patients.

      9.     I also have extensive experience as a bioethicist. Bioethicists examine

the ethical issues that arise in medicine and the life sciences. I was Chair of the

Ethics Committee at Primary Children’s Medical Center in Salt Lake City, Utah

from 2005 to 2012 and have been Director of the Ethics Center at Cincinnati

Children’s Hospital Medical Center since 2012.        I consult on patients in the

Transgender Health Clinic at Cincinnati Children’s Hospital Medical Center whose
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 5
                                                                 4 of 59
                                                                      24




care presents unique ethical issues and participate in the Clinic’s monthly

multidisciplinary team meetings. I remain current with the medical and bioethics

literature regarding the treatment of minors with gender dysphoria. I am also part of

Cincinnati Children’s Hospital Medical Center team that cares for patients born with

intersex traits, also known as differences or disorders of sex development (DSD). I

am also the Chair of Cincinnati Children’s Hospital Medical Center Fetal Care

Center’s Oversight Committee, which provides the Center with recommendations

regarding innovation and research.

      10.    I am a member of the American Academy of Pediatrics (AAP), the

American Society for Bioethics and Humanities (ASBH), the Association of

Bioethics Program Directors, and the Society for Pediatric Research. I was a

member of the AAP’s Committee on Bioethics from 2005 to 2011. I served as a

member of the ASBH’s Clinical Ethics Consultation Affairs Committee from 2009

to 2014 and currently serve on its Healthcare Ethics Consultant Certification

Commission.

      11.    I am the author of 38 peer-reviewed journal articles, 11 non-peer-

reviewed journal articles, 6 book chapters, and 26 commentaries. My peer-reviewed

journal articles have been published in high-impact journals, including the Journal

of the American Medical Association and Annals of Internal Medicine. I am also an
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 6
                                                                 5 of 59
                                                                      24




author of 17 policy statements and technical reports, including 4 as lead author, by

the AAP.

      12.    I am a member of the Executive Editorial Board and the Associate

Editor for Ethics Rounds of Pediatrics. Peditrics is the AAP’s flagship journal and

Ethics Rounds is a type of article in which commentators analyze cases that raise

ethical issues. I am an active peer reviewer for many medical journals, including the

American Journal of Bioethics and the Journal of Pediatrics. I also review abstracts

for meetings of professional organizations, including the Pediatric Academic

Societies and ABSH. I was previously a member of the editorial boards of the

Journal of Clinical Ethics and the Journal of Medical Humanities.

      13.     I have prepared declarations as an expert witness in the following cases

involving the provision of gender-affirming medical care to adolescents with gender

dysphoria: Brant v. Rutledge, Case No. 4:21CV450-JM (E.D. Ark.), Doe v. Abbott,

No. D-1-GN-22-000977, 2022 WL 628912 (Tex. Dist. 353rd Judicial District,

March 2, 2022), and Walker v. Marshall, No. 2:22-cv-167-ECM-SMD (M.D. Ala.).

In Doe v. Abbott, I testified in court as an expert witness. I am being compensated

at an hourly rate of $250 per hour for preparation of expert declarations and reports,

and $400 per hour for time spent preparing for or giving deposition or trial testimony.

My compensation does not depend on the outcome of this litigation, the opinions I

express, or the testimony I provide.
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 7
                                                                 6 of 59
                                                                      24




       GENDER-AFFIRMING MEDICAL CARE IS CLINICAL CARE

       14.     The SB 184 legislative findings claim that the use of gonadotrophin

releasing hormone (GnRH) agonists, colloquially known as puberty blockers, to treat

gender dysphoria1 are experimental and not approved by the U.S. Food and Drug

Administration (FDA). These claims are inaccurate and irrelevant, respectively.

       15.     Clinical practice and research are distinguished by their goals and

methods. The goal of clinical practice is to benefit individual patients, and its

method is individualized decision-making. The goal of research is to contribute to

generalizable knowledge, and its method uses formal protocols that describe the

research study’s objectives and procedures. See National Commission for the

Protection of Human Subjects of Biomedical and Behavioral Research. The Belmont

Report: Ethical Principles and Guidelines for the Protection of Human Subjects of

Research. The Commission; 1978.

       16.     The clinical use of puberty blockers to treat gender dysphoria is not

research or experimentation.          The same is true for gender-affirming hormone

treatment and mastectomies on transgender males (individuals assigned female at

birth who identify as male) referred to at chest surgery. When administering these

1
  Gender dysphoria is “a marked incongruence between one’s experienced/expressed gender and
their assigned gender” which is “associated with clinically significant distress or impairment in
social, occupational, or other important areas of functioning.” American Psychiatric
Association. Diagnostic and Statistical Manual of Mental Disorders. 5th ed. American
Psychiatric Publishing; 2013.
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 8
                                                                 7 of 59
                                                                      24




treatments, clinicians seek to benefit individual patients and adjust the treatment

based on individual patients’ responses.

      17.    To the extent the legislative findings use the term “experimental” to

convey an absence of evidence for gender affirming medical care, that suggestion is

baseless. Gender affirming medical care is supported by clinical studies, evidence

comparable to many other treatments in pediatrics, as detailed below.

      18.    SB 184 not only criminalizes gender-affirming medical care as clinical

care, but also criminalizes the provision of these interventions as research. Such

research is necessary, as it is in every area of medicine, to continue to advance

treatment.

      19.    The suggestion that because puberty blockers and gender-affirming

hormone treatment are not approved by the FDA for the treatment of gender

dysphoria they are therefore experimental or unsafe is misleading. Off-label use of

FDA-approved medications is legal, common, and often evidence-based.

      20.    FDA approval is not required for all uses of a medication. Once the

FDA has approved a medication for one indication,2 thereby agreeing that it is safe


2
 According to the FDA, an indication includes a number of factors: the particular
disease or condition or the manifestion or symptoms of the disease or condition for
which the drug is approved; whether the drug is approved for treatment,
prevention, mitigation, cure, or diagnosis; and the population, including age group,
for which the drug is safe and effective. Center for Drug Evaluation and Research
and Center for Biologics Evaluation and Research, Food and Drug Administation,
    Case 2:22-cv-00184-LCB-CWB
         2:22-cv-00184-LCB-SRW Document 62-2
                                        80-7 Filed 04/29/22
                                                   05/03/22 Page 9
                                                                 8 of 59
                                                                      24




(i.e., its benefits outweigh its potential risks) and effective for this intended use, as

is the case with the medications at issue here, prescribers are generally free to

prescribe it for other indications. U.S. Food & Drug Administration. Understanding

unapproved use of approved drugs “off label.” February 5, 2018. Accessed March

23, 2022. https://www.fda.gov/patients/learn-about-expanded-access-and-other-

treatment-options/understanding-unapproved-use-approved-drugs-label.                The

American Academy of Pediatrics (AAP) Committee on Drugs states, “[i]t is

important to note that the term ‘off-label’ does not imply an improper, illegal,

contraindicated, or investigational use” and “[t]he administration of an approved

drug for a use that is not approved by the FDA is not considered research and does

not warrant special consent or review if it is deemed to be in the individual patient’s

best interest.”

       21.    The AAP Committee on Drugs further states “in no way does a lack of

labeling signify that therapy is unsupported by clinical experience or data in

children.” Frattarelli DA, Galinkin JL, Green TP, et al. Off-label use of drugs in



U.S. Department of Health and Human Services. Inidcations and Usage Section of
Labeling for Human Prescription Drug and Biological Products—Content and
Format: Guidance for Industry. July 2018. Accessed April 29, 2022. Available at
https://www.fda.gov/files/drugs/published/Indications-and-Usage-Section-of-
Labeling-for-Human-Prescription-Drug-and-Biological-Products-%E2%80%94-
Content-and-Format-Guidance-for-Industry.pdf. A medication approved for the
treatment of asthma in adults whould, for example, be prescribed off label if used
to treat a different disease, like pneumonia, or a different age group, like children.
   Case
   Case2:22-cv-00184-LCB-SRW
        2:22-cv-00184-LCB-CWB Document
                              Document62-2
                                       80-7 Filed
                                            Filed04/29/22
                                                  05/03/22 Page
                                                           Page10
                                                                9 of
                                                                  of24
                                                                     59




children. Pediatrics. 2014;133(3):563-567. Among the reasons for this is that, even

if there is substantial evidence of safety and efficacy for a new indication, a sponsor

may not seek FDA approval for it because doing so is not economically beneficial.

Wittich CM, Burkle CM, Lanier WL. Ten common questions (and their answers)

about off-label drug use. Mayo Clin Proc. 2012;87(10):982-990.

       22.   “Off-label” use of drugs is common in many areas of medicine,

including pediatrics. For example, nafcillin, an antibiotic commonly used to treat

children with invasive staphylococcal infections, such as lung or joint infections,

lacks FDA approval in individuals under 18 years of age. See Nafcillin Injection,

USP.     February      2007.       Accessed   April    5,    2022.     Available     at

https://www.accessdata.fda.gov/drugsatfda_docs/label/2008/050655s017lbl.pdf. A

recent study of children’s hospitals found that in 28.1% of encounters, at least one

off-label drug was prescribed. See Yackey K, Stukus K, Cohen D, Kline D, Zhao S,

Stanley R. Off-label medication prescribing patterns in pediatrics: An update. Hosp

Pediatr. 2019;9(3):186-193. Examples of medications used off-label in this study

included: albuterol, which is used to treat asthma; morphine, which is used to treat

pain; and lansoprazole (Prevacid®), which is used to treat gastrointestinal reflux.

The rate of off-label use may be significantly higher in certain age groups, categories

of drugs, and clinical settings.
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 10
                                                                11 of 24
                                                                      59




  THE SAFETY AND EFFICACY OF GENDER-AFFIRMING MEDICAL
               CARE IS SUPPORTED BY EVIDENCE

      23.    The SB 184 legislative findings also incorrectly characterize gender-

affirming medical treatment as new, unproven, and poorly studied.            Gender-

affirming medical care is not new. Hormone treatment for gender dysphoria began

soon after estrogen and testosterone became commercially available in the 1930’s.

Stryker S. Transgender History. 2nd ed. Seal Press; 2017. The use of puberty

blockers to treat gender dysphoria in adolescents, while more recent, is not new. The

first reference to this treatment in the medical literature was in 1998, over twenty

years ago. Cohen-Kettenis PT, van Goozen SH. Pubertal delay as an aid in diagnosis

and treatment of a transsexual adolescent. Eur Child Adolesc Psychiatry.

1998;7(4):246-248. Prospective observational trials of puberty blockers began

recruiting participants in 2000. de Vries AL, Steensma TD, Doreleijers TA, Cohen-

Kettenis PT. Puberty suppression in adolescents with gender identity disorder: A

prospective follow-up study. J Sex Med. 2011;8(8):2276-2283

      24.    Gender-affirming medical care of adolescents with gender dysphoria is

also neither poorly studied nor unproven. The major categories of studies used to

evaluate innovative treatments are observational studies, which include cross-

sectional and longitudinal studies, and randomized trials. In cross-sectional studies,

investigators collect data at a single point in time. Cross-sectional design permits

investigators to examine potential associations between factors, but it cannot prove
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 11
                                                                12 of 24
                                                                      59




one factor caused the other. In longitudinal studies, researchers follow individuals

over time, making continuous or repeated measures.          In a randomized trial,

participants are randomly assigned to a treatment or a comparison group. Neither

the investigators nor the participants know to which group the participant is

assigned. The major benefit of a randomized trial is that it decreases the likelihood

that any differences in the outcomes between the groups is the result of baseline

differences between the groups rather than the result of the intervention. Guyatt G,

Rennie D, Meade MO, et al., eds. Users’ Guide to the Medical Literature: A Manual

for Evidence-Based Clinical Practice. 3rd ed. McGraw Hill Education; 2015; Perry-

Parrish C, Dodge R. Research and statistics: Validity hierarchy for study design and

study type. Pediatr Rev. 2010;31(1):27-29.

      25.    While randomized controlled trials are described in the medical

literature as “high quality” evidence and observational studies as “low quality”

evidence, randomized controlled trials may not be feasible or ethical, may have

intrinsic methodological limitations, or may be unavailable in some contexts. “Low

quality” evidence can be sufficient to justify treatment recommendations. See

Swiglo BA, Murad MH, Schunemann HJ, et al. A case for clarity, consistency, and

helpfulness: State-of-the-art clinical practice guidelines in endocrinology using the

Grading of Recommendations, Assessment, Development, and Evaluation System.

J Clin Endocrinol Metab. 2008;93(3):666-673. For example, the Endocrine Society
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 12
                                                                13 of 24
                                                                      59




recommends that “clinicians prescribe and support the reduction of inactivity and

also a minimum of 20 minutes of moderate to vigorous physical activity daily, with

a goal of 60 minutes, all in the context of a calorie-controlled diet” to treat obesity.

This recommendation is based on “low quality” evidence. Styne DM, Arslanian SA,

Connor EL, et al. Pediatric obesity-assessment, treatment, and prevention: An

Endocrine Society clinical practice guideline. J Clin Endocrinol Metab.

2017;102(3):709-757.

       26.      It may, at times, be unethical to conduct randomized trials.           For

randomized trials to be ethical, clinical equipoise must exist; that is, there must be

uncertainty about whether the efficacy of the intervention or the control is greater.

It would be unethical to knowingly expose some trial participants to an inferior

intervention.     Trials must also be feasible.      It would be unethical to expose

individuals to the risks of trial participation without the benefit of the trial generating

generalizable knowledge. A randomized trial that is unlikely to find enough people

to participate because they believe they might be randomized to an inferior

intervention would be unethical because it could not generate generalizable

knowledge due to an inadequate sample size. See Emanuel EJ, Wendler D, Grady

C. What makes clinical research ethical? JAMA. 2000;283(20):2701-2711.

       27.      The use of puberty blockers to treat gender dysphoria is supported by

prospective observational trials including: Delemarre-van de Waal HA, Cohen-
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 13
                                                                14 of 24
                                                                      59




Kettenis PT. Clinical management of gender identity disorder in adolescents: A

protocol on psychological and pediatric endocrinology aspects. Eur J Endocrinol.

2006;155(suppl 1):S131–S137; de Vries AL, Steensma TD, Doreleijers TA, Cohen-

Kettenis PT. Puberty suppression in adolescents with gender identity disorder: A

prospective follow-up study. J Sex Med. 2011;8(8):2276-2283; and de Vries AL,

McGuire JK, Steensma TD, Wagenaar EC, Doreleijers TA, Cohen-Kettenis PT.

Young adult psychological outcome after puberty suppression and gender

reassignment. Pediatrics. 2014;134(4):696-704.

      28.   Gender-affirming hormone therapy to treat gender dysphoria is also

supported by prospective observational trails. These trials include de Vries AL,

McGuire JK, Steensma TD, Wagenaar EC, Doreleijers TA, Cohen-Kettenis PT.

Young adult psychological outcome after puberty suppression and gender

reassignment. Pediatrics. 2014;134(4):696-704.

      29.   There are also ongoing federally funded prospective observational trials

of gender-affirming healthcare for adolescents with gender dysphoria in the U.S.,

trials that SB 184 would criminalize in Alabama. See National Institutes of Health

RePORTER, The impact of early medical treatment in transgender youth. Accessed

January                                 21,                                   2022.

https://reporter.nih.gov/search/lGJnh68uokiic97N2X00kA/project-

details/8965408; Olson-Kennedy J, Chan YM, Garofalo R, et al. Impact of early
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 14
                                                                15 of 24
                                                                      59




medical treatment for transgender youth: Protocol for the longitudinal, observational

trans youth care study. JMIR Res Protoc. 2019;8(7):e14434.

      30.    Under the applicable ethical standards, randomized, placebo-controlled

trials (trials that compare pharmacological treatment to no pharmacological

treatment) in gender dysphoria are currently unethical. Potential investigators do

not have equipoise between pharmacological treatment and no pharmacological

treatment; they believe that pharmacological treatment is superior. It is also highly

unlikely that enough participants would enroll in randomized controlled trials for

them to be informative. See Chew D, Anderson J, Williams K, May T, Pang K.

Hormonal treatment in young people with gender dysphoria: A systematic review.

Pediatrics. 2018;141(4):e20173742; Reisner SL, Deutsch MB, Bhasin S, et al.

Advancing methods for US transgender health research. Curr Opin Endocrinol

Diabetes Obes. 2016;23(2):198-207.

      31.    Even if randomized, placebo-controlled trials of gender-affirming

health care were ethical, they would provide a lower quality of evidence because of

intrinsic limitations in their design. For example, it would be impossible to “blind”

the investigators or the participants to whether the participants were receiving the

active treatment or a placebo. They would know if they were in the intervention or

control arm of the study due to the physical changes in their bodies, or the lack

thereof, over time. This might bias their perception of the outcomes. Atkins D, Best
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 15
                                                                16 of 24
                                                                      59




D, Briss PA, et al. Grading quality of evidence and strength of recommendations.

BMJ. 2004;328(7454):1490.

      32.    In the field of pediatrics, parents and their children often must make

decisions about medical care without the benefit of randomized trials. Clinical

research focusing on children is less likely to use randomized trials than is clinical

research for adults. Reasons for this disparity include the low prevalence of

childhood disease or conditions, small market share for therapeutic agents in

children, low level of National Institutes of Health funding, and difficulty enrolling

children in research. See Martinez-Castaldi C, Silverstein M, Baucher H. Child

versus adult research: The gap in high-quality study design. Pediatrics.

2008;122(1):52-57.

      33.    One directly relevant example of a widely accepted treatment based on

prospective observational trials is the use of puberty blockers to treat central

precocious puberty.    Central precocious puberty is the premature initiation of

puberty, before age 8 in people assigned female at birth and before age 9 in people

assigned male, by the central nervous system.          Its negative effects include

impairment of final adult height as well as antisocial behavior and lower academic

achievement. There are no randomized trials evaluating the adult height of treated

and untreated individuals. Most studies are observational and compare pretreatment

predicted and actual final height. These studies have additional limitations including
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 16
                                                                17 of 24
                                                                      59




small sample sizes. This “low quality” evidence is nonetheless sufficiently strong

to support the use of GnRH agonists as the standard of care for treatment of central

precocious puberty. See Mul D, Hughes IA. The use of GnRH agonists in precocious

puberty. Eur J Endocrinol. 2008;159(Suppl 1):S3-8.

      34.     Professional medical organizations develop evidence-based clinical

practice    guidelines   to   provide   clinicians   with   helpful,   evidence-based

recommendations and improve patient care and outcomes. Organizations develop

guidelines using systematic processes to select and review scientific evidence.

Guidelines typically rate the quality of the evidence and grade the strength of

recommendations. American Academy of Pediatrics Steering Committee on Quality

Improvement and Management. Classifying recommendations for clinical practice

guidelines. Pediatrics. 2004;114(3):874-877; Atkins D, Best D, Briss PA, et al.

Grading quality of evidence and strength of recommendations, BMJ.

2004;328(7454):1490.

      35.     The Endocrine Society, an international medical organization of over

18,000 endocrinology researchers and clinicians, has published a clinical practice

guideline for the treatment of gender-dysphoric (GD)/gender-incongruent persons,

which may include pubertal suppression, gender-affirming hormone therapy, and

gender-affirming surgery. The guideline both rates the quality of the supporting

evidence and grades the strength of its recommendations. It recommends both the
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 17
                                                                18 of 24
                                                                      59




use of puberty blockers and gender-affirming hormone therapy to treat gender

dysphoria in adolescents based on the best available evidence. The guideline

recommends delaying gender-affirming genital surgery that removes the testicles,

ovaries, and/or uterus until adulthood.     See Hembree WC, Cohen-Kettenis PT,

Gooren L, et al. Endocrine treatment of gender-dysphoric/gender-incongruent

persons: An Endocrine Society clinical practice guideline. J Clin Endocrinol Metab.

2017;102(11):3869-3903;      see   also   World     Professional   Organization     for

Transgender Health. Standards of Care for the Health of Transsexual, Transgender,

and Gender-Nonconforming People, Version 7. World Professional Association for

Transgender Health (WPATH); 2012.

      36.    Recommendations for pediatric care made by professional associations

in guidelines are seldom based on well-designed and conducted randomized

controlled trials due to their rarity and are frequently based on observational studies

or, if such studies are unavailable, expert opinion. The medical use of the term

“expert opinion” in this context differs from what I understand to be the use of this

term in legal contexts. It refers to the consensus of experts in the field when studies

are not available.

      37.    For example, none of the Endocrine Society’s 84 recommendations in

two of its other guidelines that focus on the pediatric population—guidelines on

pediatric obesity and congenital adrenal hyperplasia—is based on “high quality”
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 18
                                                                19 of 24
                                                                      59




evidence. Twenty-four (29%) of the recommendations are based on “moderate,”

and 49 (58%) on “low” or “very low quality” evidence.                The remaining

recommendations (11, 13%) are Ungraded Good Practice Statements. Table 1

(Exhibit C).     See Speiser PW, Arlt W, Auchus RJ, et al. Congenital adrenal

hyperplasia due to steroid 21-hydroxylase deficiency: An Endocrine Society clinical

practice guideline. J Clin Endocrinol Metab. 2018;103(11):4043-88; Styne DM,

Arslanian SA, Connor EL, et al. Pediatric obesity-assessment, treatment, and

prevention: An Endocrine Society clinical practice guideline. J Clin Endocrinol

Metab. 2017;102(3):709-757.

      38.      Guidelines issued by other professional associations concerning

pediatric medical care are similar. For example, of the 130 recommendations in the

American Heart Association’s guideline for Pediatric Basic and Advanced Life

Support, only 1 (1%) is based on “high-quality evidence from more than 1

[randomized clinical trial]” and 3 (3%) on “moderate-quality evidence from 1 or

more [randomized clinical trials].” The remainder of the recommendations were

based on lower quality evidence. Topjian AA, Raymond TT, Atkins D, et al. Part 4:

Pediatric basic and advanced life support: 2020 American Heart Association

guidelines for cardiopulmonary resuscitation and emergency cardiovascular care.

Circulation. 2020;142(16_suppl_2):S469-S523.            As reflected in medical

professional associations’ guidelines, medical treatment in pediatrics is infrequently
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 19
                                                                20 of 24
                                                                      59




based on “high” quality evidence and commonly based on lower quality evidence,

including observational studies.

 PARENTS AND LEGAL GUARDIANS ARE CAPABLE OF PROVIDING
 INFORMED CONSENT FOR GENDER-AFFIRMING MEDICAL CARE

      39.    SB 184 also incorrectly asserts that minors and their parents are unable

to comprehend and fully appreciate the risks and life implications of gender-

affirming health care.

      40.    First and foremost, parents or legal guardians generally must provide

informed consent for medical treatment for minors, including gender-affirming

medical care. There is no evidence cited in support of the assertion that parents of

adolescents with gender dysphoria are unable to comprehend and fully appreciate

the implications of gender-affirming medical care. Parents or legal guardians are

frequently asked to consent to medical treatments for minors with comparable risks,

uncertainty, or levels of evidence. Limitations in adults’ ability to predict what will

contribute to satisfaction in the future, called affective forecasting, is not unique to

decisions regarding gender-affirming medical care. And there are approaches

healthcare providers use to improve affective forecasting. Wilson TD, Gilbert DT.

Affective forecasting: Knowing what to want. Curr Dir Psychol Sci.

2005;14(3):131-134; Halpern J, Arnold RM. Affective forecasting: An

unrecognized challenge in making serious health decisions. J Gen Intern Med.

2008;23(10):1708-1712.
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 20
                                                                21 of 24
                                                                      59




      41.    Adolescents generally possess comparable medical decision-making

capacity to adults. Louis A. Weithorn and Susan B. Campbell, for example, found

that 14-year-olds performed similarly to adults with respect to their ability to

understand and reason about treatment information. Weithorn LA, Campbell SB.

The competency of children and adolescents to make informed treatment decisions.

Child Dev. 1982;53(6):1589-1598. There is evidence that most adolescents with

gender dysphoria have sufficient medical decision-making capacity to make

decisions regarding puberty blockers. Vrouenraets L, de Vries ALC, de Vries MC,

van der Miesen AIR, Hein IM. Assessing medical decision-making competence in

transgender youth. Pediatrics. 2021;148(6): e2020049643. Similar to the

aforementioned approaches to improve adult’s affective forecasting, there are steps

that healthcare providers take to promote adolescents’ decision-making capacity.

Katz AL, Webb SA, Committee on Bioethics. Informed consent in decision-making

in pediatric practice. Pediatrics. 2016;138(2):e20161485.

      42.    The current standard of care for treating gender dysphoria in minors is

consistent with general ethical principles instantiated in the practices of informed

consent and shared decision-making.        The Endocrine Society clinical practice

guideline extensively discusses the potential benefits, risks, and alternatives to

gender-affirming medical care, and its recommendations regarding the timing of

interventions are based in part on the treatment’s potential risks and the adolescent’s
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 21
                                                                22 of 24
                                                                      59




decision-making capacity. The guideline recommends that informed consent for

pubertal blockers and gender-affirming hormones include a discussion of the

implications for fertility and options for fertility preservation. The Endocrine

Society clinical guideline also advises delaying gender-affirming hormone

treatment, which results in partly irreversible physical changes until an adolescent

has has developed sufficient medical decision-making capacity. The guideline states

clinicians should individualize decision-making for breast or chest surgery in

transgender males and that chest surgery may be considered in individuals under 18

years old. See Hembree WC, Cohen-Kettenis PT, Gooren L, et al. Endocrine

treatment of gender-dysphoric/gender-incongruent persons: An Endocrine Society

clinical practice guideline. J Clin Endocrinol Metab. 2017;102(11):3869-3903.

     SB 184 SINGLES OUT GENDER-AFFIRMING MEDICAL CARE
                 FOR ANOMALOUS TREATMENT

      43.   SB 184’s legislative findings do not provide a sufficient basis for

criminalizing and singling out for anamolous treatment the provision of gender-

affirming healthcare to adolescents with gender dysphoria.        For example, as

previously mentioned, SB 184 permits the use of puberty blockers to treat central

precocious puberty, but criminalizes the use of puberty blockers to treat gender

dysphoria, even though using puberty blockers in connection with both conditions

has comparable risks and is supported by comparable types of evidence.
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 22
                                                                23 of 24
                                                                      59




      44.    Additionally, while SB 184 would prohibit chest surgery on

transgender males, minors are permitted to undergo many comparable surgeries,

such as those for gynecomastia, pectus excavatum or carinatum, and breast

reconstruction. Gynecomastia is the proliferation of ductal or glandular breast

tissue, as opposed to adipose tissue or fat, in individuals whose sex assigned at birth

is male. Pectus excavatum and carinatum are chest wall anomalies in which the

sternum is depressed or protrudes, respectively. While surgeries to treat these

conditions, as well as breast reduction and augmentation for individuals whose sex

assigned at birth and gender identity are female, may at times be performed to lessen

physical symptoms, such as pain or exercise intolerance, they are commonly

performed to reduce psychosocial distress. Gynecomastia and breast augmentation

surgery affirm patients’ gender identity, that is, to respectively help someone

assigned male at birth feel more typically masculine and someone assigned female

at birth feel more typically feminine. Risks of these procedures include bleeding,

infection, scarring and poor cosmetic outcome, loss of sensation, and impaired

breast/chest feeding.    Some surgeries have unique risks such as catastrophic

perforations of the heart or lungs in some forms of pectus repair, or capsule

formation around a breast implant causing hardening and pain. See Buziashvili D,

Gopman JM, Weissler H, et al. An evidence-based approach to management of

pectus excavatum and carinatum. Ann Plast Surg. 2019;82(3):352-358; Nordt CA,
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 80-7
                                       62-2 Filed 05/03/22
                                                  04/29/22 Page 23
                                                                24 of 24
                                                                      59




DiVasta AD. Gynecomastia in adolescents. Curr Opin Pediatr. 2008;20(4):375-382;

Zuckerman D, Abraham A. Teenagers and cosmetic surgery: Focus on breast

augmentation and liposuction. J Adolesc Health. 2008;43(4):318-324.

      45.    As these examples of chest surgeries in adolescents illustrate, surgeries

for minors can require weighing short- and long-term effects, benefits, and risks in

the face of uncertainty. Individual needs shape these evaluations and, therefore, the

adolescents’ participation is essential. There is nothing unique about chest surgery

for gender dysphoria that justifies singling out this and other medical treatments for

gender dysphoria for a criminal prohibition based on a concern for adolescents’

inability to assent or parents or guardians’ inability to consent. As with other

medical decisions for adolescents, medical decisions regarding treatment for gender

dysphoria should continue to be left to the discretion of transgender adolescents,

their parents or guardians, and their healthcare providers.

      46.    Ironically, while SB 184 criminalizes gender-affirming medical care

for youth with gender dysphoria in the name of protecting vulnerable children, the

statute expressly allows doctors to perform irreversible surgeries on infants and

children with intersex conditions or differences or disorders of sex development

(DSD) at ages when they are unable to meaningfully participate in medical decision

making. Such surgeries are highly controversial when performed at such an early

age and can result in life-long complications and side effects. See Frader J, Alderson
   Case 2:22-cv-00184-LCB-CWB
        2:22-cv-00184-LCB-SRW Document 62-2
                                       80-7 Filed 04/29/22
                                                  05/03/22 Page 25
                                                                24 of 59
                                                                      24




P, Asch A, . t at Health care professionals and intersex conditions; Arch Pediatr

Adolesc Med. 2004~158(5):426-428.

                                       CONCLUSIONS

       47.    The Endocrine Society's recommendations for treating adolescents

with gender dysphoria with pubertal suppression, gender-affinning hormones, and

chest surgery are well within the range of other decisions that adolescents and their

parents or guardians in Alabama have the discretion to make.           Based on my

research and experience as a pediatrician and bioethicist, there is no sound medical

or eth ·:cal basis to criminalize this care. Doing so puts clinicians in the untenable

position of having to either follow state law and knowingly harm their patients, or

face penalties including imprisonment and loss of their medical licenses ..



I declare under penalty of pe1jury under the laws •Of the United States of America

that the forego· ng is true and correct.




ExecutOO: April 29, 2022      ~~~;
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